     Case
      Case2:13-cr-00085-JAD-PAL
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      Federal Public Defender
 2    State Bar No. 11479
      MONIQUE KIRTLEY
 3    Assistant Federal Public Defender
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 4    Las Vegas, Nevada 89101
      (702) 388-6577
 5    (Fax) 388-6261
 6    Attorneys for Albert Lafarga-Cruz

 7

 8                                  UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA

10                                                  ***
11

12     UNITED STATES OF AMERICA,                          Case No.: 2:13-cr-00085-APG-PAL

13                            Plaintiff,                MOTION TO REQUEST PRE-TRIAL
                                                        SERVICES INTERVIEW ALBERT
14     vs.                                              LAFARGA-CRUZ WITH PROPOSED
                                                        ORDER
15     ALBERT LAFARGA-CRUZ,                             (Expedited Treatment Requested)

16                            Defendant.

17

18
                     COMES NOW the defendant, Albert Lafarga-Cruz, by and through his counsel of
19
      record, Rene L. Valladares, Federal Public Defender, and Monique Kirtley, Assistant Federal Public
20
      Defender, counsel for defendant and files this Motion to Request Pre-trial Services to Interview Mr.
21
      Lafarga-Cruz for the following reasons.
22
                     DATED this 14th day of May, 2013.
23
                                                            RENE L. VALLADARES
24                                                          Federal Public Defender

25                                                          /s/ Monique Kirtley
                                                            ____________________________
26                                                          MONIQUE KIRTLEY
                                                            Assistant Federal Public Defender
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     Case
      Case2:13-cr-00085-JAD-PAL
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 1                      MOTION TO REQUEST PRE-TRIAL SERVICES INTERVIEW
                                    ALBERT LAFARGA CRUZ
 2
                        On April 27, 2013, the defendant, Albert Lafarga-Cruz (“Lafarga”), made an initial
 3
      appearance before Magistrate Judge Cam Ferenbach. Mr. Lafarga was detained as a flight risk and
 4
      a danger to the community. It appears from the Order that the Court did not have any verifiable
 5
      information regarding Mr. Lafarga as he had not interviewed with Pre-trial Services. The
 6
      undersigned counsel filed a Motion to Re-Open Bail. A hearing on the Motion is scheduled for May
 7
      21, 2013 at 10:00 a.m. Prior to the hearing, Mr. Lafarga would like the opportunity to be interviewed
 8
      by Pre-trial Services. In order to have Mr. Lafarga interviewed, the undersigned respectfully requests
 9
      that this Court order Pre-trial Services to interview him prior to the 10:00 a.m., on May 21, 2013.
10
      Undersigned counsel is including a proposed order that would accomplish what is being requested
11
      in this motion.
12
                        DATED this 14th day of May, 2013.
13
                                                             Respectfully submitted,
14
                                                             RENE L. VALLADARES
15                                                           Federal Public Defender
16                                                           /s/ Monique Kirtley
                                                             __________________________
17                                                           MONIQUE KIRTLEY
                                                             Assistant Federal Public Defender
18                                                           Counsel for Albert Lafarga-Cruz
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     Case
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 1                                  UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3                                                  ***
 4
       UNITED STATES OF AMERICA,                       Case No.: 2:13-cr-00085-APG-PAL
 5
                              Plaintiff,                                    ORDER
 6
       vs.
 7
       ALBERT LAFARGA CRUZ,
 8
                              Defendant.
 9

10                    The reasons being sound and in the best interests of justice and judicial economy

11    being served.                                   if time and resources are available

12                   IT IS ORDERED that Pre-trial Services conduct a pre-trial interview on May 21,
                                              and the court on or before May 20, 2013.
13    2013 prior to 10:00 a.m. and make the report available to the parties as quickly as possible.

14                    DATED this 15th day of May                  , 2013.

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16                                                 ___________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
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                                                               Page4 4ofof4 4



 1                            CERTIFICATE OF ELECTRONIC SERVICE

 2
                     The undersigned hereby certifies that she is an employee of the Law Offices of the
 3
      Federal Public Defender for the District of Nevada and is a person of such age and discretion as
 4
      to be competent to serve papers.
 5
                     That on May 14, 2013, she served an electronic copy of the above and foregoing
 6
      MOTION TO REQUEST PRE-TRIAL SERVICES INTERVIEW ALBERT LAFARGA
 7
      CRUZ WITH PROPOSED ORDER, (Expedited Treatment Requested), by electronic service
 8
      (ECF) to the person named below:
 9
                            DANIEL G. BOGDEN
10                          United States Attorney
                            SUSAN CUSHMAN
11                          Assistant United States Attorney
                            333 Las Vegas Blvd. So., 5th Floor
12                          Las Vegas, Nevada 89101

13                                                 /s/ Blanca Lenzi
                                                   _________________________________
14                                                 Employee of the Federal Public Defender

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